              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                      CIVIL CASE NO. 1:11cv10
                   (Criminal Case No. 1:09cr13-5)



REGINALD LAMOND FIELDS,       )
                              )
              Petitioner,     )
                              )
         vs.                  )                 ORDER
                              )
                              )
UNITED STATES OF AMERICA,     )
                              )
              Respondent.     )
_____________________________ )

      THIS MATTER comes before the Court on initial review of Petitioner’s

Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence.

[Doc. 1]. For the reasons stated herein, Petitioner’s Motion to Vacate will be

denied and dismissed.



                        I.   PROCEDURAL HISTORY

      On February 17, 2009, Petitioner was charged in a two-count Bill of

Indictment with conspiracy to possess with intent to distribute 50 grams or

more of cocaine base in violation of 21 U.S.C. § 846 and 841(a)(1) (Count

One); and use of a communication facility in committing and in causing the




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commission of the acts alleged in Count One in violation of 21 U.S.C. § 843(b)

(Count Two). [Criminal Case No. 1:09cr13, Doc. 12]. On February 26, 2009,

Magistrate Judge Howell entered an oral order granting Petitioner’s oral

motion to appoint counsel and appointing Stanford Clontz to represent the

Petitioner. [Id., Docket entry dated 2/26/09 and Doc. 59]. On April 7, 2009,

Petitioner filed a motion for release from custody. [Id., Doc. 176]. Magistrate

Judge Howell held a hearing on the motion and denied Petitioner’s motion on

April 14, 2009. [Id., Docket entry April 14, 2009]. Petitioner then filed a

motion to appoint new counsel and his counsel filed a motion to withdraw as

counsel. [Id., Docs. 182 and 183]. Magistrate Judge Howell held a hearing

on the motions on April 16, 2009 and denied the motions in an Order dated

April 23, 2009. [Id., Doc. 193]. In the Order, the Court noted that the motions

appeared to be filed in direct response to the fact that the Court declined to

release the defendant on pretrial release and to counsel’s assessment of the

case after having reviewed the discovery. The Court therefore denied the

motions, concluding that there did not appear to be a lack of communication

between the Petitioner and his counsel that would prevent an adequate

defense. [Id.]. On April 24, 2009, a Plea Agreement was filed with the Court

in which   Petitioner agreed to plead guilty to Count One of the Bill of

Indictment. [Id., Doc. 199].


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      On May 1, 2009, the Petitioner appeared before Magistrate Judge

Howell and pled guilty to Count One of the Bill of Indictment. Judge Howell

engaged Petitioner in a lengthy colloquy to ensure that he understood the

nature and consequences of the proceedings and his actions. [Id.,Doc. 580:

Transcript of Plea and Rule 11 Proceeding].             During the plea colloquy,

Petitioner affirmed under oath that he understood the elements of the offense

to which he was pleading guilty and the maximum penalties he faced and that

he was, in fact, guilty of the charged drug conspiracy. [Id. at 8-9]. Petitioner

also affirmed that he understood how the Sentencing Guidelines might apply

to his case; that he might receive a sentence that was either higher or lower

than that called for by the Guidelines; and that even if his sentence was more

severe than expected, he would nevertheless be bound by his plea and have

no right to withdraw it. [Id. at 11-12]. Petitioner also affirmed that he was

waiving his right to a jury trial and to confront the witnesses against him; that

he was waiving his right to challenge either his conviction or sentence “in a

post-conviction proceeding,” except on specified grounds; and that he

“knowingly and willingly accept[ed] this limitation on [his] right . . . to file post-

conviction proceedings.” [Id. at 13-17]. Petitioner affirmed that no one forced

him to plead guilty and that he was satisfied with the services of his attorney.

[Id. at 14-17]. The Court accepted Petitioner’s plea finding that the plea was


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knowingly and voluntarily made and that Petitioner understood the charges,

potential penalties, and consequences of the plea. [Id. at 19].

      Prior to Petitioner’s sentencing hearing, the Probation Office submitted

a Presentence Report (PSR). The Probation Officer calculated a base offense

level of 30 based on his determination, consistent with the parties’ stipulation

in the Plea Agreement, that Petitioner was responsible for at least 50 grams

but less than 150 grams of cocaine base. [PSR, Doc. 333 at ¶19]. The

Probation Officer included a three-level reduction for Petitioner’s acceptance

of responsibility. [Id. at ¶26]. Based on a total offense level of 27 and a

criminal history category of III, the Probation Officer noted that the applicable

Guidelines range of imprisonment would be 87 to 108 months. [Id. at ¶99].

With respect to the statutory range of imprisonment, the Probation Officer

found that because of the Government’s Notice pursuant to 21 U.S.C. § 851,

the statutory range was twenty years to life, [Id. at ¶98], and thus the

guidelines range would be set at the statutory minimum pursuant to USSG

§5G1.1 at 240 to 240 months.

      On October 7, 2009, Petitioner filed a motion for new counsel. [Criminal

Case, 1:09cr13, Doc. 385]. The undersigned directed that Magistrate Judge

Howell hear the motion and conduct a status of counsel inquiry. [Id., Doc.

386]. Magistrate Judge Howell conducted a sealed proceeding regarding


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Petitioner’s motion for new counsel on October 14, 2009 and issued an Order

dated October 15, 2009 appointing new counsel for Petitioner, concluding that

there was a lack of communication between counsel and the Petitioner that

would prevent an adequate defense.1

       While there were no objections made to the PSR, counsel for Petitioner

made several arguments at sentencing including that the Court give

consideration to the disparity in sentences between crack and powder

cocaine. [Id., Doc. 581: Transcript of Sentencing Hearing at 16]. The Court,

however, after considering counsel’s arguments, did grant a motion for

downward departure pursuant to USSG §5K1.1 and 18 U.S.C. §3553(e) and

sentenced Petitioner to a term of imprisonment of 168 months, [Id., at 33-34],

which was considerably below the guidelines range.

       Petitioner did not appeal his conviction or sentence to the Fourth Circuit

Court of Appeals. On January 21, 2011, Petitioner filed the instant Motion,

arguing that his counsel was ineffective for failing to conduct a proper

investigation prior to encouraging him to accept the plea offer and that his

plea was “coerced” by counsel as he entered his plea under duress because


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        The Court has listened to the audio recording of the motion hearing and notes
that there was no indication from the Petitioner that his communication issues with
counsel were related to his decision to plead guilty. In fact, the only issues specifically
addressed were whether counsel sufficiently explained the PSR to the Petitioner and
that counsel seemed unwilling to travel to the facility where Petitioner was housed to
discuss any possible motion for a downward departure.

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his counsel and he had a conflict of interest. Petitioner argues that because

of this “conflict of interest,” the Court should allow him to start the plea

negotiations over again. [Doc. 1 at 4, 8]. Petitioner also contends that his

counsel was ineffective for failing to make an argument at sentencing

regarding the disparity in crack sentencing. [Id. at 5].



                          II.   LEGAL DISCUSSION

      Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings

for the United States District Courts, sentencing courts are directed to

promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is

entitled to any relief. If the petitioner is not entitled to relief, the motion must

be dismissed. Id. Following such review, it plainly appears to the Court that

the Petitioner is not entitled to any relief on his claims.

      A.    Ineffective Assistance of Counsel

      To establish a claim of ineffective assistance of counsel, a petitioner

must show that counsel’s performance fell below an objective standard of

reasonableness, and that he was prejudiced by such constitutionally deficient

representation. Strickland v. Washington, 466 U.S. 668, 687-92, 104 S.Ct.

2052, 80 L.Ed.2d 674 (1984). In measuring counsel’s performance, there is


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“a strong presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.” Id. at 689, 104 S.Ct. 2052.

      To demonstrate prejudice, Petitioner must show a probability that the

alleged errors worked to his “actual and substantial disadvantage, infecting his

trial with error of constitutional dimensions.” Murray v. Carrier, 477 U.S. 478,

494, 106 S.Ct. 2639, 91 L.Ed.2d 397 (1986) (quoting United States v. Frady,

456 U.S. 142, 170, 102 S.Ct. 1584, 71 L.Ed.2d 816 (1982)). Under these

circumstances, Petitioner “bears the burden of proving Strickland prejudice.”

Fields v. Attorney Gen., 956 F.2d 1290, 1297 (4th Cir. 1992) (citing Hutchins

v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983)). If Petitioner fails to

meet this burden, “a reviewing court need not consider the performance

prong.” Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697, 104 S.Ct.

2052).

      Moreover, in considering the prejudice prong of the analysis, the Court

must not grant relief solely because Petitioner can show that, but for counsel’s

performance, the outcome of the proceeding would have been different.

Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the Court “can

only grant relief under . . . Strickland if the ‘result of the proceeding was

fundamentally unfair or unreliable.’” Id. (quoting Lockhart v. Fretwell, 506 U.S.

364, 369, 113 S.Ct. 838, 122 L.Ed.2d 180 (1993)).


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      There is a presumption that counsel was competent, and a petitioner

seeking post-conviction relief bears a heavy burden to overcome this

presumption. Carpenter v. United States, 720 F.2d 546, 548 (8th Cir. 1983).

The presumption of competency is not overcome by conclusory allegations.

Id. A petitioner bears an even heavier burden where the claim of ineffective

assistance of counsel follows the entry of a guilty plea. Where a defendant

has pled, he must show that but for counsel’s unprofessional errors, he would

have gone to trial instead of pleading guilty. Hill v. Lockhart, 474 U.S. 52, 59,

106 S.Ct. 366, 88 L.Ed.2d 203 (1985).           Additionally, because one of

Petitioner’s claims challenges an issue at sentencing, in order to demonstrate

an entitlement to relief, he must, at a minimum, allege facts which establish

that his “sentence would have been more lenient” absent counsel’s errors.

See Royal v. Taylor, 188 F.3d 239, 249 (4th Cir. 1999).

      Petitioner argues that his counsel was ineffective for failing to conduct

a proper investigation prior to encouraging Petitioner to accept the plea offer.

Petitioner also contends that his plea was “coerced” by counsel as he entered

his plea under duress because his counsel and he had a conflict of interest.

Petitioner argues that because of this “conflict of interest,” the Court should

allow him to start the plea negotiations over again. [Doc. 1 at 4, 8].

      “[C]ounsel has a duty to make reasonable investigations or to make a


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reasonable decision that makes particular investigations unnecessary.”

Wiggins v. Smith, 539 U.S. 510, 521, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003)

(quoting Strickland, 466 U.S. at 690-91, 104 S.Ct. 2052). In the instant case,

Petitioner fails to allege any facts or information which would have yielded a

sufficient defense that should have prompted counsel to advise against

entering into a plea agreement with the Government. Petitioner alleges that

he should be permitted to start the plea negotiations over again because his

counsel was relieved due to a conflict of interest. The record indicates,

however, that Petitioner was permitted to have new counsel appointed not

due to a conflict of interest but due to a lack of communication between

counsel and Petitioner and counsel’s apparent unwillingness to go to the

facility where Petitioner was housed in order to discuss a downward departure

motion. Petitioner did not mention a desire to withdraw his guilty plea at the

time of the hearing regarding counsel, nor did his new counsel file a motion

to withdraw his guilty plea.      Petitioner has not shown either deficient

performance or prejudice, and therefore, his claim must fail.

      Next, to the extent that Petitioner is arguing that his counsel was

ineffective for coercing him to plead guilty, such claim fails. Indeed, the record

of Petitioner’s Plea and Rule 11 Hearing belies Petitioner’s allegation that his

counsel pressured him into pleading guilty.          Magistrate Judge Howell


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specifically reviewed with Petitioner the charge to which Petitioner was

pleading guilty and advised him of the elements of the offense as well as the

minimum and maximum penalties of the offense. Magistrate Howell then

inquired whether “[his] plea of guilty [was] voluntary and not the result of

coercion, threats or promises other than those contained in the written plea

agreement.” [Criminal Case No. 1:09cr13, Doc. 580: Transcript of Plea and

Rule 11 Proceeding at 14]. Petitioner responded in the affirmative indicating

that his guilty plea was voluntary. The Court then confirmed that Petitioner

had sufficient time to discuss possible defenses with his attorney, that he was

satisfied with the services of his attorney, and that he fully understood what

he was doing and wanted the Court to accept his plea of guilty. [Id. at 14-17].

      A review of Plea and Rule 11 Transcript establishes that the statements

which Petitioner made to the Court stand in stark conflict with his belated, self-

serving allegation that counsel “coerced” him into pleading guilty. Further,

Petitioner is bound by the statements he made at the Plea and Rule 11

hearing and those statements cannot be set aside merely on the basis of his

post-judgment assertions to the contrary. Rather, Petitioner’s statements

“constitute a formidable barrier” to this post-judgment attack. Blackledge v.

Allison, 431 U.S. 63, 73-74, 97 S.Ct. 1621, 52 L.Ed.2d 136 (1977); accord

United States v. Lemaster, 403 F.3d 216, 220-23 (4th Cir. 2005) (affirming


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summary dismissal of §2255 motion, including ineffective assistance claim,

noting inconsistent statements made during Rule 11 hearing). In sum, the

Court finds that Petitioner has failed to satisfy either prong of the Strickland

test and, therefore, his claim of ineffective assistance of counsel must fail.

      To the extent that Petitioner is challenging the voluntariness of his plea,

such claim is procedurally barred as Petitioner did not raise this claim on

appeal. Generally, claims that could have been but were not raised on direct

review are procedurally barred. “Habeas review is an extraordinary remedy

and will not be allowed to do service for an appeal.” Bousley v. United States,

523 U.S. 614, 621, 118 S.Ct. 1604, 140 L.Ed.2d 828 (1998) (internal quotation

marks and citation omitted). It is well-settled that collateral attacks under 28

U.S.C. § 2255 are limited to claims of constitutional magnitude or to errors

which inherently result in a complete miscarriage of justice. See United

States v. Addonizio, 442 U.S. 178, 185, 99 S.Ct. 2235, 60 L.Ed.2d 805

(1979). In order to collaterally attack a conviction or sentence based upon

errors that could have been but were not pursued on direct appeal, a

petitioner must show cause and actual prejudice resulting from the errors

complained of or that he is actually innocent.2               See United States v.

Mikalajunas, 186 F.3d 490, 492-93 (4th Cir. 1999) (citing Frady, 456 U.S. at


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          Petitioner makes no claim of actual innocence.

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167-68, 102 S.Ct. 1584).

       “‘Cause’ means some impediment . . . .” United States v. Smith, 241

F.3d 546, 548 (7th Cir. 2001). The existence of cause for procedural default

must turn on something external to the defense. Murray, 477 U.S. at 488, 106

S.Ct. 2639. As set forth below, Petitioner has failed to carry his burden of

establishing cause. In order to establish “actual prejudice,” the defendant

must show “not merely that the errors at his trial created a possibility of

prejudice, but that they worked to his actual and substantial disadvantage,

infecting his entire trial with error of constitutional dimensions.” Frady, 456

U.S. at 170, 102 S.Ct. 1584. In this case, Petitioner has not met his burden

in establishing cause for failing to raise this claim on direct appeal. Therefore,

Petitioner’s claim regarding the voluntariness of his plea is procedurally

barred.3

       Next, Petitioner argues that his counsel was ineffective for failing to

make an argument at sentencing regarding the disparity in crack versus

powder sentences. Petitioner contends that counsel should have made this

argument because his sentencing took place “[i]in the mist [sic] of the



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         Even if this claim were not barred, however, it is belied by the record which
establishes that the Court reviewed the elements of each count of the Indictment with
Petitioner. The Court then thoroughly questioned Petitioner regarding his
understanding of the rights he was waiving by pleading guilty, including his right to go to
trial and all the rights attendant thereto.

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sentencing guidelines being determined to be advisory and the U.S. Justice

Department determining that crack sentences produced disparent [sic]

sentences . . . . ” [Doc. 1 at 5].

      A review of the Sentencing Transcript belies Petitioner’s claim that

counsel failed to object to his sentence based on disparity between crack and

powder cocaine. Indeed, during the sentencing hearing, counsel argued that

the Court should consider this disparity in determining Petitioner’s sentence.

Specifically, counsel stated:

            Your Honor, the next argument is somewhat different,
            but I do ask the Court to consider the disparity
            treatment between crack and powder. I know that the
            guidelines have taken – the Sentencing Commission
            has made some efforts to remedy that. I will point out
            to you, however, that the big guys are distributing
            powder, and they’re providing large amounts of
            powder to then be made into crack cocaine, and then
            it filters its way down to somebody like Mr. Fields, who
            can get in a while lot of trouble for being a much
            smaller player in a very large conspiracy. It’s pretty
            clear from the presentence report that he’s not the
            guy who is bringing in the powder and distributing it.
            I mean, all this crack cocaine starts as powder and it
            filters its way down to somebody like Mr. Fields who
            then gets caught up in this.

[Criminal Case No. 1:09cr13, Doc. 581: Transcript of Sentencing Hearing at

16-17].

      The record clearly establishes that counsel made the very argument at

sentencing that Petitioner claims he did not make. Petitioner has not

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established deficiency or prejudice as is required pursuant to Strickland and

his claim is therefore denied.



                              III.     CONCLUSION

      The Court has considered the pleadings and documents submitted by

the Petitioner and the entire record of this matter and finds that it is clear that

Petitioner is not entitled to relief on his claims of ineffective assistance of

counsel.



                                     IV.   ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence [Doc. 1] is DENIED and DISMISSED.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, this Court declines to issue a certificate of

appealability as Petitioner has not made a substantial showing of a denial of

a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S.

322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in order to satisfy §

2253(c), a petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong).




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   IT IS SO ORDERED.

                                 Signed: February 8, 2011




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